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                 Defendant’s Failure to Follow
                   The Court’s Instructions
                                         U.S. District Court
                                  Northern District of Texas (Dallas)
Willie Lee HavMmeri,
Plaintiff
vs.
Methodist Health Systems,
Defendant

Case No. 3:22-cv-00594-E-BT

Assigned Judge: Ada Brown
Magistrate Judge: Rebecca Rutherford
Defendant’s Legal Team: Ogletree Deakins Nash Smoak & Stewart PC
(Employment Law Firm – Dallas, Texas)
Cause: 42:1983 Civil Rights (Employment Discrimination)
Nature of Suit: 442 Civil Rights: Employment
Date Filed: 03/14/2022
Today’s Date: 05/09/2023

Overview
“Parties must submit proposed orders via the Court's ECF System.” (Ordered by
Magistrate Judge Rebecca Rutherford on 11/9/2022)
The Defendant’s legal actions are hypocritical. The Defendant currently has the Court reviewing a
Motion to Dismiss (doc. 33) on the grounds that I failed to follow the Courts instructions to deliver an
Amended Complaint by October 31st 2020, stating that my document 24 titled “Amended Complaint” is
not an “Amended Complaint.

Proposed Order *MUST* be submitted through ECF System, per Judge’s Instructions
Not only does this Motion to Dismiss on the grounds stated seem ridiculous, the Defendant has failed to
follow the Court’s instructions themselves by sending a word document via email to the Judge after
being INSTRUCTED not to do so in the future.

On November 9th 2022, via electronic order, the Courts instructed all parties to submit orders via the ECF
system in an official document on record (Electronic Order – doc. 32).

The very next day November 10th 2022, the Defendant failed to follow the Court’s Instructions and sent
an email with a proposed order to the Judge in this case, stating that my case should be dismissed
because *I* did not follow the Court’s Instructions.




                                  Wrongful Termination due to Retaliation and Discrimination
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On November 15th 2022, in an emailed reply, the Court *AGAIN* instructed the Defendant, it’s legal
team and myself, as the Plaintiff, that “Parties must submit proposed orders via the Court’s ECF System”.

Today is May 9, 2023 and the Defendant maintains a position of emailing word documents directly to the
Judge, to which the Judge has given detailed instruction NOT TO DO SO on several occasions, informing
both parties of the lack of safeguards associated with emailed delivery for proposed orders.

The email sent today May 9, 2023 was courtesy of Yolanda Bables of Ogletree Deakins Nash Smoak &
Stewart PC at 5:01pm.

With that said, I find it quite hypocritical (and a bit comical) that in the Defendant’s time
consuming/wasting Motion to Dismiss, I am accused of failing to follow the Court’s Instructions when
the Defendant has demonstrated repeatedly an unwillingness to do so.

Conclusion
November 9th 2022, via Electronic Order (doc- 32), The Court instructed both parties in the manner in
which to deliver proposed orders and the very next day (November 10th 2022) the Defendant filed a
Motion to Dismiss, citing erroneously that I failed to follow the Court’s Instructions. This has wasted 6
months of the Court’s time. These are the professionals.

Exhibits attached below

My termination was WRONGFUL. It was RETALIATION for questioning an unfair bias, due to GENDER.

I am more than a name in the PLAINTIFF section of documents.

Respectfully submitted,

May 9th, 2023

By: _____/s/ Willie HavMmeri_________

Willie Lee HavMmeri, self-represented “Pro se”
godcolored@gmail.com
(214) 600-6207




                                  Wrongful Termination due to Retaliation and Discrimination
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Exhibits
Exhibits of failure to follow the Court’s Instructions by Ogletree Deakins Nash Smoak & Stewart PC
(Defendant’s Legal team)




                                  Wrongful Termination due to Retaliation and Discrimination
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